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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                   LONDON DIVISION
                                   (Electronically Filed)

      DAVID WILSON, as Administrator                )
      Of the Estate of Lisa Noble,                  )
      Deceased,                                     )
             Plaintiff                              )
                                                    )       Civil Action No.: 6:17-157-KKC
      v.                                            )
                                                    )
      BEACON TRANSPORT, LLC, and                    )
      TERRAN COOPER,                                )
          Defendants                                )

                   DEFENDANT, TERRAN COOPER’S RESPONSES TO
                 PLAINTIFF’S FIRST SET OF REQUEST FOR ADMISSIONS

             Come now the Defendant, Terran Cooper, by counsel, and for his Responses to

      Plaintiff’s First Set of Requests for Admission to the Plaintiff, David Wilson, as

      Administrator of the Estate of Lisa Noble, deceased, state as follows:

                                     GENERAL OBJECTIONS

             These answers and responses are made solely for the purpose of this action. Each

      answer or response is subject to all objections as to competence, relevance, materiality,

      propriety and admissibility, and any and all other objections on grounds that would require

      the exclusion of any statement contained herein if any request was asked of, or any statement

      contained herein was made by, a witness present and testifying at the time of trial.

             Except for the explicit facts expressly admitted herein, no incidental or implied

      admissions are intended hereby. The fact that this Defendant has responded or objected to

      any discovery or any part thereof should not be taken as an admission that this Defendant


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      accepts or admits the existence of any facts set forth or assumed by such discovery or that

      such responses or objection constitutes admissible evidence. The fact that this Defendant has

      not responded to part or all of any discovery is not intended and shall not be construed to be a

      waiver by this Defendant of all or any part of any objection to any discovery propounded

      herein.

                     To the extent that any or all of the discovery calls for information which

      constitutes information or material prepared in anticipation of litigation or for trial or

      information or material covered by the work product doctrine or which constitutes

      information which is privileged by virtue of the attorney-client privilege, this Defendant

      objects to each and every such request and thus, will not supply or render any information or

      material protected from discovery by virtue of the work product doctrine or attorney-client

      privilege or any other rule, case authority, privilege or other protection.

                     This Defendant has not completed the investigation of the facts relating to this

      case, nor has it completed discovery or this action or completed preparation for trial. The

      following answers and responses are given without prejudice to the production of

      subsequently discovered facts or evidence, or the presentation of facts or theories resulting

      from subsequently discovered evidence, reevaluation of the existing evidence, or evaluation

      of the existing evidence in light of newly discovered evidence which this Defendant reserves

      the right to provide as supplement to these answers and responses in accordance with the

      Kentucky Rules of Civil Procedure.

                     Further, this Defendant does not waive its right to object to the maximum

      number of interrogatories and requests for admission, as set forth in Federal Rules of Civil

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      Procedure 33.01(3) and other applicable statues, rules or orders, even though this Defendant

      has attempted to respond to each discovery request.

                                   REQUESTS FOR ADMISSION

             1. Admit that at the time of the collision in issue in the Complaint, you were acting

      in the course and scope of your employment with Beacon Transport, LLC.

             RESPONSE:         Objection. The foregoing request calls for a legal conclusion.

      Notwithstanding, the foregoing objection, and in the spirit of cooperation, Defendant Cooper

      was employed by Beacon on the date of the subject accident.

             2. Admit that you were personally served with a copy of the Summons issued on

      June 19, 2017 in this action (See Docket No. 8 herein for a copy of the Summons) and a copy

      of the Complaint filed in this action in Lavergne, TN on July 18, 2017.

             RESPONSE: Admit.

             3. Admit that venue is proper in this Court.

             RESPONSE:         Objection. The foregoing request calls for a legal conclusion.

      Notwithstanding, the foregoing objection, and in the spirit of cooperation, Defendant Cooper

      states the subject accident occurred on Interstate 75 in Kentucky.

             4. Admit that there are no indispensable parties to this action other than the

      Defendants of record herein.

             RESPONSE:         Objection. The foregoing request calls for a legal conclusion.

      Notwithstanding, the foregoing objection, and in the spirit of cooperation, Defendant Cooper

      is not aware of any other parties to this accident.



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             5.   Admit that Beacon is a motor carrier licensed by and registered with the Federal

      Motor Carrier Safety Administration.

             RESPONSE: Admit.

             6. Admit that Beacon hired, qualified, and retained you in its employment as a

      commercial motor vehicle operator prior to the collision in issue in the Complaint.

             RESPONSE: Objection. Defendant Cooper is unaware as to what “hired and

      qualified” means. It is unclear as to whether the Plaintiff is implying any specific meaning to

      the same or some other legal connotation of the same. Defendant Cooper admits to only he

      was an employee of Beacon Transport on or about the date of the subject accident.

             7. Admit that at all times relevant to this action, Beacon owned the tractor that you

      operated    at   the   time   of   the   collision,   which   tractor   had   VIN     Number

      4V4NC9EG6GNN33619.

             RESPONSE: Objection. The foregoing is not within knowledge of Defendant

      Cooper.

             8. Admit that at all times relevant to this action, Beacon owned the trailer pulled by

      Mr. Cooper at the time of the collision.

             RESPONSE:         Objection. The foregoing is not within knowledge of Defendant

      Cooper.

             9. Admit that the tractor driven by Mr. Cooper at the time of the collision was

      operated with the permission and at the direction of Beacon.

             RESPONSE: Objection. Defendant Cooper is unclear as to what “permission and

      direction” means, and believes the same may imply some special legal connotation given rise

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      to an objection based upon a legal conclusion. Notwithstanding, in the spirit of cooperation,

      Defendant Cooper admits only that he was an employee at Beacon Transport on or about the

      time of the subject accident.

              10. Admit that the trailer pulled by Mr. Cooper at the time of the collision was

      operated with the permission and at the direction of Beacon.

              RESPONSE: : Objection. Defendant Cooper is unclear as to what “permission and

      direction” means, and believes the same may imply some special legal connotation given rise

      to an objection based upon a legal conclusion. Notwithstanding, in the spirit of cooperation,

      Defendant Cooper admits only that he was an employee at Beacon Transport on or about the

      time of the subject accident.

              11. Admit that at the time of the collision admitted on the second page of your

      Answer filed at Docket No. 42 in this action, the tractor-trailer operated by Mr. Cooper was

      not moving.

              RESPONSE: Objection. The foregoing request is vague and ambiguous. Moreover,

      it relates to a statement purportedly made in a separate document, which is in itself

      objectionable. To the extent that the Plaintiff request Defendant Cooper admit something that

      was stated in another document, Defendant Cooper does not believe that he was stopped. In

      any event, and in the spirit of cooperation, Defendant Cooper states affirmatively that he was

      moving at the time of the subject accident.

              12. Admit that following the collision in issue in the Complaint, you took photographs

      of Ms. Noble’s vehicle, with her still inside of it.

              RESPONSE: Deny.

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                13. Admit that following the collision in issue in the Complaint, you took video of

      Ms. Noble’s vehicle, with her still inside of it.

                RESPONSE: Deny.

                14. Admit that when you exited the cab of the Beacon vehicle after the collision, you

      instructed persons attempting to assist Ms. Noble to get away from her and her vehicle.

                RESPONSE: Deny.

                15.    Admit that when you instructed persons attempting to assist Ms. Noble to get

      away from her, Ms. Noble was alive within her vehicle.

                RESPONSE: Deny.

                16.    Admit that when you instructed persons attempting to assist Ms. Noble to get

      away from her vehicle, at least one of those persons was praying with Ms. Noble while

      awaiting the arrival of an ambulance.

                RESPONSE: Objection. This information outside the knowledge of Defendant,

      Cooper. Defendant Cooper is not certain what other persons may have been attempting or not

      attempting to do.

                17.    Admit that when you exited the Beacon vehicle after the crash, you claimed

      that Ms. Noble caused the collision to persons attempting to assist Ms. Noble.

                RESPONSE: Objection. The foregoing request calls for a legal conclusion.

                18. Admit that on February 3, 2017, Timothy D. Lange sent the correspondence

      contained in Exhibit 2 to the Complaint to the addressees identified thereupon demanding the

      preservation of evidence addressed therein to avoid spoliation of evidence relating to this

      action.

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             RESPONSE: Objection. This request is outside of my knowledge. I am not certain

      of what Mr. Lange may have done.



             19.    Admit that on February 9, 2017, a faxed written acknowledgement of receipt of

      the correspondence contained in Exhibit 2 was made by counsel Harlan Judd for Beacon and

      its driver Mr. Cooper.

             RESPONSE: Objection. This request is outside of my knowledge. I am not certain

      of what Mr. Lange may have done.

             20.    Admit that there was no sudden emergency causing you to operate the Beacon

      vehicle as it was in operation at the time of the collision in issue in the Complaint.

             RESPONSE: Deny.

             21.    Admit that Ms. Noble was wearing her seatbelt at the time of the collision in

      issue in the Complaint.

             RESPONSE: Objection. Discovery in this matter has just been initiated. I reserve

      the right to be able to ascertain whether or not Ms. Noble was wearing her seatbelt, and

      thereafter whether the same would have prevented or mitigated her injuries. At this point in

      time, I am not had an adequate opportunity to review such request.

             This the 7th day of September, 2017.

                                                     HARLAN E. JUDD & ASSOCIATES, PSC
                                                     P.O. Box 51093
                                                     Bowling Green, Kentucky 42101
                                                     Telephone: 270.904.4141
                                                     Telefax: 888.590.2842

                                                     s/Harlan Judd

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                                                    ________________________
                                                    HARLAN E. JUDD, III

                                   CERTIFICATE OF SERVICE

             This is to certify that a true and accurate copy of the foregoing has been served upon
      counsel for Defendants on this 7th day September, 2017 by regular U.S. Mail to

      Timothy D. Lange
      Benson, Risch & Lange, PLLC
      401 W. Main Street, Ste 2150
      Louisville, KY 40202

      D. Randall Jewell
      Jewell Law Office, PLLC
      P.O. Drawer 670
      Barbourville, KY 40906

      Billy J. Taylor
      Taylor Law Office, PLLC
      110 Knox Street, Ste A
      Barbourville, KY 40906

                                                         s/Harlan Judd
                                                         ________________________
                                                         HARLAN E. JUDD, III




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